                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )         COLLIER/CARTER
                                              )
       v.                                     )         CASE NO. 1:14-CR-83
                                              )
CHRISTOPHER WILLIAMS                          )



                                            ORDER

       On January 20, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to distribute fifty grams or more of a

mixture and substance containing a detectable amount of methamphetamine, in violation of Title

21, U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange for the undertakings made by the

government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

set forth in the lesser included offense in Count One of the Indictment; (c) that a decision on

whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

in custody pending sentencing in this matter (Court File No. 38). Neither party filed an objection

within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

follows:

       (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

in exchange for the undertakings made by the government in the written plea agreement, is

ACCEPTED;




Case 1:14-cr-00083-TRM-CHS           Document 50        Filed 02/12/15      Page 1 of 2      PageID
                                           #: 103
       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

offense in Count One of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

April 23, 2015, at 9:00 am.

       SO ORDERED.

       ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




                                              2


Case 1:14-cr-00083-TRM-CHS         Document 50      Filed 02/12/15     Page 2 of 2     PageID
                                         #: 104
